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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ x
WOMEN OF COLOR FOR EQUAL JUSTICE, ET. AL.,

                                                                 Plaintiffs,

                                 -against-                                         NOTICE OF MOTION FOR
                                                                                   PARTIAL
THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,                                         RECONSIDERATION
COMMISSIONER ASHWIN VASAN, M.D. PH.D.,
DEPARTMENT OF HEALTH AND MENTAL HYGIENE,
DEPARTMENT OF EDUCATION, AND DOES 1-20,                                            22-CV-02234

                                                         Defendants

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                   PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law,

dated October 9, 2024, and upon all prior pleadings and proceedings herein, Defendants New York

City Department of Education (“DOE”) and City of New York (“City”) will move this Court

before the Honorable Eric Komitee, United States District Judge, at the United States Courthouse

for the Eastern District of New York, 225 Cadman Plaza, Brooklyn, NY 11201, on a date and time

to be determined by the Court, for partial reconsideration of the Court’s Memorandum and Order,

ECF Dkt. No. 99, dated September 25, 2024, which granted in part and denied in part Defendants’

Motion to Dismiss, and for such other and further relief as the Court deems just and proper.


Dated: New York, NY
       October 9, 2024
                                                          MURIEL GOODE-TRUFANT
                                                          Acting Corporation Counsel of the City of New
                                                              York
                                                          Attorney for Defendants NYC and DOE
                                                          100 Church Street
                                                          New York, New York 10007
                                                          (212) 356-3522

                                                          By:       /s/ Elisheva L. Rosen
                                                                 Elisheva L. Rosen
                                                                 Assistant Corporation Counsel


TO:      VIA ECF
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     Honorable Lois Bloom
     United States Magistrate Judge




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